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                                                                           Development, Inc.
                                                                      11
                                                                                                     UNITED STATES BANKRUPTCY COURT
T ROUTMAN S ANDERS LLP




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                                              N EW Y ORK , NY 10022




                                                                                                     NORTHERN DISTRICT OF CALIFORNIA
                         875 T HIRD A VENUE




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                                                                                                             SAN FRANCISCO DIVISION
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                                                                      15   In re:                                         Bankruptcy Case No. 19-30088 (DM)

                                                                      16   PG&E CORPORATION                               Chapter 11 (Lead Case) (Jointly Administered)

                                                                      17                -and-                             NOTICE OF HEARING ON MOTION OF
                                                                                                                          CONSOLIDATED EDISON FOR RELIEF
                                                                      18   PACIFIC GAS AND ELECTRIC                       FROM THE AUTOMATIC STAY TO
                                                                           COMPANY,                                       INTERVENE AND PARTICIPATE IN
                                                                      19                                                  APPEAL OF FERC ORDERS
                                                                                                            Debtors.
                                                                      20                                                  Date: June 26, 2019
                                                                             Affects PG&E Corporation                     Time: 9:30 a.m. (Pacific Time)
                                                                      21     Affects Pacific Gas and Electric             Place: United States Bankruptcy Court
                                                                           Company                                               Courtroom 17, 16th Floor
                                                                      22     Affects both Debtors                                San Francisco, CA 94102
                                                                                                                          Objection Deadline: June 19, 2019
                                                                      23   * All papers shall be filed in the Lead,                             4:00 p.m. (Pacific Time)
                                                                           Case, No. 19-30088 (DM).
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                                                                                  PLEASE TAKE NOTICE that, on January 29, 2019 (the “Petition Date”), PG&E
                                                                       2   Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
                                                                           “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a
                                                                       3   voluntary petition for relief under chapter 11 of title 11 of the United States Code (the
                                                                           “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District of
                                                                       4   California (San Francisco Division) (the “Bankruptcy Court”).
                                                                       5         PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
                                                                           June 26, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
                                                                       6   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450
                                                                           Golden Gate Avenue, San Francisco, California 94102.
                                                                       7
                                                                                   PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard
                                                                       8   at the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Motion of Consolidated
                                                                           Edison For Relief From the Automatic Stay To Intervene and Participate In Appeal Of FERC
                                                                       9   Orders, filed by Consolidated Edison Development Inc. (“Consolidated Edison”) on June 5,
                                                                           2019 [Dkt. No. ____] (the “Motion”).
                                                                      10
                                                                                   PLEASE TAKE FURTHER NOTICE that, any oppositions or responses to the Motion
                                                                      11   must be in writing, filed with the Bankruptcy Court, and served on the counsel for Consolidated
                                                                           Edison at the above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific
T ROUTMAN S ANDERS LLP




                                                                      12   Time) on June 19, 2019. Any oppositions or responses must be filed and served on all
                                              N EW Y ORK , NY 10022
                         875 T HIRD A VENUE




                                                                           “Standard Parties” as defined in, and in accordance with, the Second Amended Order
                                                                      13   Implementing Certain Notice and Case Management Procedures entered on May 14, 2019 [Dkt
                                                                           No. 1996] (“Case Management Order”). Any relief requested in the Motion may be granted
                                                                      14   without a hearing if no opposition is timely filed and served in accordance with the Case
                                                                           Management Order. In deciding the Motion, the Court may consider any other document filed
                                                                      15   in these Chapter 11 Cases and related Adversary Proceedings.
                                                                      16           PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting
                                                                           papers can be viewed and/or obtained: (i) by accessing the Court’s website at
                                                                      17   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450
                                                                           Golden Gate Avenue, San Francisco, CA94102, or (iii) from the Debtors’ notice and claims
                                                                      18   agent, Prime Clerk LLC, at https://restructuring.primeclerk.com/pge or by calling (844) 339-
                                                                           4217 (toll free) for U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-mail
                                                                      19   at: pgeinfo@primeclerk.com. Note that a PACER password is needed to access documents on the
                                                                           Bankruptcy Court’s website.
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                                                                       1   Dated: June 5, 2019                        TROUTMAN SANDERS LLP

                                                                       2                                              By: /s/ Hugh M. McDonald

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